Case 2:20-cv-13134-LVP-RSW ECF No. 181, PageID.7171 Filed 12/03/21 Page 1 of 3




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


TIMOTHY KING, et al.,


                         Plaintiffs,        Case No: 2: 20-cv-13134
-v-                                         Honorable Linda V. Parker


GRETCHEN WHITMER, in her official
capacity as Governor of the State of Michigan,
et al.
                       Defendants,
and

CITY OF DETROIT, DEMOCRATIC
NATIONAL COMMITTEE,
MICHIGAN DEMOCRATIC PARTY, and
ROBERT DAVIS,
                  Intervenor-Defendants.



                            NOTICE OF APPEAL

      Please take notice that Attorney L. Lin Wood appeals to the United States

Court of Appeals for the Sixth Circuit from the final judgment entered on December

2, 2021.

                                            Respectfully submitted,

                                            /s/Paul J. Stablein
                                            Paul J. Stablein
                                            Paul Stablein, PLLC
                                            380 North Old Woodward
Case 2:20-cv-13134-LVP-RSW ECF No. 181, PageID.7172 Filed 12/03/21 Page 2 of 3




                                         Suite 320
                                         Birmingham, MI 48009
                                         (248) 540-1600
                                         PaulStablein@StableinLaw.com
DATED:      December 3, 2021
Case 2:20-cv-13134-LVP-RSW ECF No. 181, PageID.7173 Filed 12/03/21 Page 3 of 3




                             PROOF OF SERVICE

      I, Paul Stablein, certify that the foregoing document(s) was filed and served

via the Court's electronic case filing and noticing system (ECF) this 3rd day of

December, 2021, which will automatically send notification of such filing to all

attorneys and parties of record registered electronically, and, to any counsel not

registered to receive electronic copies from the court, by enclosing same in a sealed

envelope with first class postage fully prepaid, addressed to the above, and

depositing said envelope and its contents in a receptacle for the US Mail.

                                       Respectfully submitted,



                                       /s/Paul J. Stablein
                                       Paul Stablein
                                       Attorney for Mr. Wood
DATED:       December 3, 2021
